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                               EXHIBIT 2
Case 3:22-cv-00049-NKM-JCH Document 221-2 Filed 05/19/23 Page 2 of 2 Pageid#: 2612




   VIRGINIA:
          In the Supreme Court of Virginia held at the Supreme Court Building in the
   City of Richmond on Thursday the 27th day of April, 2023.

   J.M., et al.,                                                                           Appellants,

   against         Record No. 230197
                   Court of Appeals No. 1855-22-2

   A.A., et al.,                                                                           Appellees.

                                  From the Court of Appeals of Virginia

           Upon consideration of the petition for appeal and brief in opposition, the Court directs the

   parties to file letter briefs addressing the following questions:

           (1) Has a final order been entered in this matter?

           (2) If a final order is entered during the pendency of an interlocutory appeal, what is the
               effect on this Court’s jurisdiction over that interlocutory appeal?

           The letter briefs may not exceed 15 pages and must be filed by May 18, 2023.

           Chief Justice Goodwyn took no part in the decision to issue this order.


                                                  A Copy,

                                                    Teste:

                                                                Muriel-Theresa Pitney, Clerk
                                                    By:




                                                                Deputy Clerk
